          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:09cr13-8


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
KENNETH LEE FOSTER.       )
                          )



      THIS MATTER is before the Court on the Defendant’s pro se Motion for

Wiretap: (Transcripts) Order an Application Civil #1:09mc00001 [Doc. 500]

and Motion to Release Jenks 3500 Material [Doc. 502].

      On August 26, 2009, the Defendant was sentenced to 360 months

imprisonment. [Doc. 347]. He filed a notice of appeal and his appeal remains

pending with the United States Fourth Circuit Court of Appeals. [Doc. 363].

On November 4, 2009, the Fourth Circuit appointed Samuel B. Winthrop to

represent him on appeal. [Doc. 416].

      The Rules of Practice and Procedure of the United States District Court

for the Western District of North Carolina (Local Rules of Criminal Procedure)

provide in pertinent part as follows:



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     [T]he Court will not ordinarily entertain a motion filed by a criminal
     defendant who is still represented by counsel and has not formally
     waived his or her right to counsel in the presence of a judicial
     officer after being fully advised of the consequences of the waiver.

Loc.R.Crim.P. 47.1(H).

The Court will not entertain the Defendant’s pro se filings which are hereby

stricken from the record.

     IT IS, THEREFORE, ORDERED that the Defendant’s pro se Motion for

Wiretap: (Transcripts) Order an Application Civil #1:09mc00001 [Doc. 500]

and Motion to Release Jenks 3500 Material [Doc. 502] are hereby STRICKEN

from the record.

                                       Signed: March 9, 2010




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